                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUHTERN DISTRICT
                                   HOUSTON, DIVISION

 LARRY RAY SWEARINGEN,
 TDCJ No. 999361
             Plaintiff,

 v.
                                                   CIVIL CASE NO. _____

 BRYAN COLLIER,                                    DEATH PENALTY CASE
 Executive Director, Texas Department of
 Criminal Justice;                                 PLAINTIFF LARRY RAY
                                                   SWEARINGEN IS SCHEDULED FOR
 LORIE DAVIS,                                      EXECUTION ON AUGUST 21, 2019
 Director, Correctional Institutions Division,
 Texas Department of Criminal Justice,

 BILLY LEWIS,
 Senior Warden, Huntsville Unit Huntsville,
 Texas

 and

 UNKNOWN EXECUTIONERS;
         Defendants (individuals sued only in
 their official capacity).


                      COMPLAINT FILED PURSUANT TO 42 U.S.C. § 1983




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1784034.02-NYCSR03A                                                   MSW - Draft August 15, 2019 - 9:20 PM
                      COMPLAINT FILED PURSUANT TO 42 U.S.C. § 1983

        1.       Plaintiff LARRY RAY SWEARINGEN is scheduled to be executed on August

21, 2019 by lethal injection of pentobarbital. As detailed herein, the vials of pentobarbital to be

used in Mr. Swearingen's execution were compounded under circumstances which indicate that

the drug is of inferior quality and potency, and likely further deteriorated over time through

ineffective maintenance practices. Moreover, the vials—which will be 429 days old at the time

of Mr. Swearingen's execution—far exceed the maximum 45 day Beyond Use Date ("BUD")

for this substance. In similar circumstances, improperly compounded and ineffectively

maintained pentobarbital has resulted in executions lasting longer than twenty minutes.

Moreover, as explained herein and in further detail in the supporting declaration of Doctor of

Pharmacy, Michaela Almgren, deficient pentobarbital creates a substantial risk that the injection

will not end Swearingen’s life. Exhibit ‘A’ (Declaration of M.M. Almgren, Phd, with CV).

        2.       Mr. Swearingen does not challenge his execution here. Instead, he merely

requests that the drugs utilized in his execution be properly tested soon before his execution, at

least within the time period set out by industry best practice. This request is not unprecedented.

In Whitaker v. Livingston, the Honorable District Court Judge Lynn N. Hughes ordered:


        Texas will test the drugs before using them on the plaintiffs. Williams and Whitaker will
        be killed by reliable compounded pentobarbital.

No. CV H-13-2901, 2016 WL 3199532, at *8 (S.D. Tex. June 6, 2016), aff'd sub nom. Whitaker

v. Collier, 862 F.3d 490 (5th Cir. 2017). In Whitaker, the Defendants stipulated that it would

conduct additional testing of the compounded pentobarbital prior to an execution. See Whitaker

v. Collier, 862 F.3d at 494. Defendants then confirmed their commitment to retest the

compounded pentobarbital prior to an execution during argument at the Fifth Circuit Court of



1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
Appeals. Id. at 494 n.4. Despite these representations to the Federal District Court and Court of

Appeals in Whitaker, Defendants do not actually intend to retest the compounded pentobarbital

to be used in Mr. Swearingen’s executions. This simple safeguard, however, will ensure a

humane and effective execution consistent with the Eighth Amendment to the United States

Constitution and Texas law.

          3.       Mr. Swearingen brings this action pursuant to 42 U.S.C. §1983, alleging

violations and threatened violations of his rights under the Eighth and Fourteenth Amendments

to the U.S. Constitution to be free from cruel and usual punishment to due process of law.

Plaintiff seeks declaratory and injunctive relief against the Defendants Bryan Collier, Lorie

Davis, Billy Lewis, and Unknown Executioners (collectively, "Defendants").1 Mr. Swearingen

asks this Court for a declaration that the manner in which Defendants plan to execute Mr.

Swearingen is unconstitutional, unless the compounded pentobarbital utilized has been properly

tested within the industry standard time periods. Based on the finding of a constitutional

violation, Mr. Swearingen also seeks injunctive relief requiring that the specific vials of drugs to

be used in Mr. Swearingen's execution be tested prior to the scheduled execution date of August

21, 2019.


    I.    PLAINTIFF

          4.       Plaintiff Larry Ray Swearingen is a person within the jurisdiction of the State of

Texas. He is currently a death-sentenced inmate under the supervision of the Texas Department

of Criminal Justice, TDCJ #999361. He is confined at the Polunsky Unit in Livingston, Texas.




1
      Individual defendants are sued only in their official capacity. The suit is brought against the individual
      defendants in an abundance of caution because sovereign immunity and other jurisdictional issues may be an
      impediment to bringing a cause of action against the state and county agencies which they serve.


                                                         2
1784034.02-NYCSR03A                                                                  MSW - Draft August 15, 2019 - 9:20 PM
 II.    DEFENDANTS

        5.       Defendant Bryan Collier is the Executive Director of the Texas Department of

Criminal Justice.

        6.       Defendant Lorie Davis is the Director of the Correctional Institutions Division of

the Texas Department of Criminal Justice (“TDCJ”), and holds the power, by statute, to

determine and supervise the manner by which death sentenced inmates are executed. Tex. Code

Crim. Proc. art. 43.14.

        7.       Defendant Billy Lewis is the Senior Warden of the Huntsville Unit, where

executions take place.

        8.       Defendants Unknown Executioners are employed by the Texas Department of

Criminal Justice and carry out executions in Texas. Plaintiff does not yet know their identities

because the TDCJ conceals them.

        9.       The Defendants are all State officials acting, in all respects relevant to this action,

under color of State law. They are all sued in their official capacities.


III.    JURISDICTION & VENUE

        10.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal question),

1343 (civil rights violations), 2201 (declaratory relief), and 2202 (further relief). This action

arises under the First, Sixth, Eighth and Fourteenth Amendments to the United States

Constitution and under 42 U.S.C. § 1983.

        11.      Venue in this Court is proper under 28 U.S.C. § 1391, and this Court has

personal jurisdiction over the defendants in this matter because the events giving rise to this

claim – both executions and the procurement and maintenance of drugs used in the lethal

injection process – occur in Huntsville, Texas.


                                                    3
1784034.02-NYCSR03A                                                          MSW - Draft August 15, 2019 - 9:20 PM
IV.     EXHAUSTION OF REMEDIES

        12.      Plaintiff need not exhaust administrative remedies under 42 U.S.C. § 1997(a)

because he is not challenging his conditions of confinement, and because no administrative

remedies exist that could address his claims.


 V.     FACTUAL BACKGROUND


        13.      Under Texas law, Defendants have the statutory authority and duty to establish

and administer a lethal injection protocol. The Texas Code of Criminal Procedure provides:

        Whenever the sentence of death is pronounced against a convict, the
        sentence shall be executed at any time after the hour of 6 p.m. on the day set for the
        execution, by intravenous injection of a substance or substances in a lethal quantity
        sufficient to cause death and until such convict is dead, such execution procedure
        to be determined and supervised by the Director of the Institutional Division of the
        Texas Department of Criminal Justice.

Tex. Code Crim. Proc. art. 43.14 (Vernon Supp. 2004–2005). “No torture, or ill treatment, or

unnecessary pain, shall be inflicted upon a prisoner to be executed under the sentence of the

law.” Id. art. 43.24.

        14.      This statute requires the director of the Division to determine and supervise

Texas’s lethal-injection protocol. Id.

        15.      The statute does not require specific drugs, dosages, or drug

combinations, and does not require a specific manner of intravenous access for the execution. Id.

        16.      The current execution protocol was written and adopted in April 2019, and

designates that the drug pentobarbital shall be used to carry out executions.

        17.      Pentobarbital is a barbiturate, and is classified by the Drug

Enforcement Administration (DEA) as a Schedule II controlled substance. It has few authorized

uses in humans – primarily (and rarely) used for anesthesia, and for the euthanasia of animals.


                                                 4
1784034.02-NYCSR03A                                                      MSW - Draft August 15, 2019 - 9:20 PM
        18.      For each execution, the State of Texas either uses 2 vials of 50 mg/mL (2.5 g) of

pentobarbital, or 1 vial of 100mg/ml (5 g).

        19.      TDCJ’s Director has the unilateral power to change the protocol at any

moment. Tex. Code Crim. Proc. art. 43.14.

        A.       PENTOBARBITAL MADE BY COMPOUNDING

        20.      In September 2013 Texas began purchasing and using compounded – rather than

manufactured - pentobarbital to carry out executions. Upon information and belief, Texas

continues only to use compounded pentobarbital to this day.

        21.      Pharmacy compounding is a practice by which a pharmacist

combines, mixes, or alters ingredients in response to a prescription to create a medication

tailored to the medical needs of an individual patient. Independent laboratories can test

compounded drugs for a variety of measures, including identity, strength, and contaminants.

        22.      The United States Pharmacopeia (“USP”) classifies compounded

pentobarbital as a high-risk sterile injectable. See USP General Chapter <797>, Pharmaceutical

Compounding – Sterile Preparations.2

        23.      Pentobarbital is especially risky in its compounded form, both because of the

unregulated nature of the compounding industry, and because there is no scientific description

of, or formula for, the process of compounding pentobarbital for use in executions.

        24.      Commercial     (manufactured)        pharmaceutical   products       require

compliance with a rigorous licensing process and are the result of substantial scientific research

and development programs.



2
  The USP is the seminal scientific advisory publication concerning the compounding of sterile
injectables.


                                                  5
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
        25.      Pharmaceutical compounded preparations have numerous exemptions

from the licensing process and accordingly, do not require established scientific investigations

(“proof”) for specific formulations.

        26.      Compounding pharmacies often lack the infrastructure needed to make sterile,

potent, and safe injectable pentobarbital.

        27.      FDA inspections routinely uncover compounding pharmacies that have not

followed procedures designed to prevent drug contamination.

        28.      When pharmacies compound high-risk sterile products on small scale, there is no

mandated testing or quality control to determine that the syringe contains the accurate amount or

potency. Instead, it is at the pharmacist’s discretion whether to test potency on an individual vial-

by-vial basis or forego this step. The lack of mandated testing for compounding pharmacies

differs from the standards required for pharmaceutical manufacturers and 503b outsourcing

facilities, where quality assurance testing must take place.

        29.      The integrity, potency, and sterility of compounded pentobarbital are affected

by, among other things: the quality of the active pharmaceutical ingredient (“API”) used to make

the drug; the quality of the compounder and the conditions of the laboratory in which the drug is

compounded; the time between compounding and use; the conditions and manner of storage

between compounding and use; the assigned beyond use date (“BUD”) and the qualifications of

and method used by the person assigning the same.

        30.      There is a substantial risk that drugs that are not the appropriate potency

or composition, or are contaminated, degraded, or contain impurities, will become ineffective

and fail to cause death as required under Texas law.

        B.       POTENCY AND STERILITY



                                                 6
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
        31.      Potency is the amount of drug required to produce a specific effect.

        32.      According to pharmaceutical expert Dr. Michaela Almgren, if the pentobarbital

used in Mr. Swearingen’s execution is sub-potent, Mr. Swearingen will not receive the intended

dosage required to cause death. Almgren Decl. ¶ 18.

        33.      Upon information and belief, although the State of Texas tests one vial per batch

of compounded pentobarbital for potency, sterility, and the presence of contaminates when the

State receives the drug from its supplier, the State does not test each individual vial intended for

use in lethal injection for potency, sterility, or contamination, and does not re-test the drug

shortly before it is used for lethal injection.

        34.      According to expert Dr. Almgren, it is not possible to accurately determine

potency for an entire batch of compounded sterile products without conducting individual testing

of each vial in that batch. Almgren Decl. ¶ 16.

        35.      Sterility can be defined as the freedom from the presence of viable

microorganisms. When microorganisms and contaminants are present in a pharmaceutical

product, this can cause significant changes to the composition of the drug and impact potency.

        36.      22 Tex. Admin. Code § 291.133 also requires that the ingredients used in sterile

compounding be of USP/NF grade, or chemical grade if USP/NF grade substances are not

available. It further states that the ingredients must be purchased from a FDA-registered facility,

or if not purchased from a FDA-registered facility, the pharmacist must establish purity and

stability by obtaining a Certificate of Analysis from the supplier and compare the monograph of

drugs in a similar class to the Certificate of Analysis.

        37.      The State of Texas has not provided any such Certificate of Analysis and has been

unable to confirm whether the drug ingredients were obtained from a FDA-registered facility.



                                                  7
1784034.02-NYCSR03A                                                        MSW - Draft August 15, 2019 - 9:20 PM
        C.       BEYOND USE DATES

        38.      Compounded preparations have a much shorter “shelf life” than

manufactured drugs, and are assigned a “beyond use date,”(BUD) intended to prevent

degradation of a compound. 22 Tex. Admin. Code § 291.133 requires that a product’s BUD

shall be determined as outlined in Chapter 797, Pharmacy Compounding--Sterile Preparations of

the USP/NF. The BUD is defined in USP <797> as “the date or time after which a CSP shall

not be stored or transported. The BUD is determined from the date and time the preparation is

compounded.” A drug that has surpassed its beyond use date is at risk of stability and sterility

failings, and may not retain sufficient potency. Almgren Decl. ¶ 8.

        39.      USP <797> sets the BUD for high-risk compounded sterile preparations such as

compounded pentobarbital as follows:

    ▪   24 hours, if stored at room temperature,
    ▪   72 hours, if kept refrigerated, or
    ▪   45 days, if kept in a solid, frozen state

        40.      Pentobarbital is more stable when stored in a solid, frozen temperature (with a

maximum beyond use date of 45 days), and less stable when stored at a cold (i.e.,refrigerated)

temperature (3 days) and controlled room temperature (24 hours).

        41.      Upon information and belief, Defendants keep the lethal injection drugs at

room temperature or refrigerated, but not frozen.

        42.      Compounded pentobarbital that has surpassed its recommended BUD has a high

risk of improper potency, composition, contaminants, impurities, and degradation. These risks

grow as the length of time beyond the BUD increases.




                                                    8
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
         D.      INFERIOR QUALITY OF COMPOUNDED PENTOBARBITAL TO BE
                 USED IN MR. SWEARINGEN'S EXECUTION


         43.     Plaintiff Swearingen sent Defendants a Public Information Act request on July

18, 2019, requesting information about the drugs that will be used to carry out his execution. In

response, he received the documents, which state that the State of Texas intends to execute Mr.

Swearingen by a single injection of compounded pentobarbital.

         44.     Testing was conducted on two occasions, June 22, 2018 and May 3, 2019, on a

single vial of compounded pentobarbital in the State’s possession, and used to extrapolate the

potency of the other untested vials within that batch. Exhibit ‘B’.

         45.     When the unknown laboratory tested this single vial of the batch of compounded

pentobarbital, the potency was 98.0%. The vial passed microbiology tests that were conducted

(Scan RDI and Bacterial Endotoxins).

         46.     Nearly one year later, on May 3, 2019, an unknown laboratory tested one vial of

the same batch of compounded pentobarbital for potency. The potency was 98.8%. Microbiology

tests determining the presence of bacterial endotoxins were not performed at this time.

         47.     It is not clear whether the vial that was tested during these two tests will be the

same vial used in Mr. Swearingen’s execution, or whether the State of Texas intends to use a

completely different vial or vials from the same batch in Mr. Swearingen’s execution.

         48.     Without testing of each of the individual vials intended for Mr. Swearingen’s

execution, there is no way of knowing whether these vials are of adequate potency to cause

death.




                                                   9
1784034.02-NYCSR03A                                                         MSW - Draft August 15, 2019 - 9:20 PM
        49.      Dr. Almgren avers that testing one vial in a batch does not provide information

about the potency, sterility, or contamination of other vials within that batch. Almgren Decl. ¶

26.

        50.      Since testing for contaminates did not even take place during the May 3, 2019

testing, the presence of contaminates in all of the vials from this batch of pentobarbital is

unknown.

        51.      Without access to the compounding records kept by the pharmacy to document

how the drug was prepared, and without knowing whether individual testing took place at the

time of compounding, experts cannot confirm that the drugs intended for use in Mr.

Swearingen’s execution were correctly made, contain the appropriate amount of active

ingredient, or will be sufficient to cause death.

        52.      According to Dr. Almgren, the drugs intended for use in Mr. Swearingen’s

execution are far beyond the USP recommended beyond use date ("BUD"). Almgren Decl. ¶ 7.

        53.      One of the vials of pentobarbital in the batch acquired by the State of Texas on

June 18, 2018 was originally tested on or about June 22, 2018, and assigned a BUD of June 5th,

2019. However, this vial was later tested again and assigned a new BUD of May 6th, 2020. This

means that the drugs intended for Larry Swearingen’s execution will be 430 days old when they

are used in his execution on August 21, 2019.

        54.      The drugs intended for use in Mr. Swearingen’s execution have been given a

beyond use date that far exceeds what is considered appropriate under USP <797>, regardless of

the temperature at which the drugs were stored. According to Dr. Almgren, the amount of time

that has elapsed between compounding and use can impact potency, rendering the drugs

insufficient to cause death.



                                                    10
1784034.02-NYCSR03A                                                        MSW - Draft August 15, 2019 - 9:20 PM
            55.     Without testing the individual vials intended for Mr. Swearingen’s execution,

   there is also a serious risk that these vials could have become degraded or contaminated.

            56.     According to Dr. Almgren, poor storage conditions frequently cause degradation

   and contamination of drug products. Pentobarbital and other compounded sterile products need

   to be kept in proper storage conditions or they can become damaged and unusable. The same is

   true for pentobarbital's active pharmaceutical ingredient. Almgren Decl. ¶ 14.

            57.     Storage conditions for these vials and their active ingredients are entirely

   unknown. It is also unknown how the drugs and active ingredients were transferred to the State

   of Texas, and whether such transfer took place with appropriate handling and under the

   appropriate temperature-controlled conditions.

            58.     It is also not clear how the drugs have been handled by Texas state officials,

   compounding personnel, or testing laboratory employees, and whether such people took the

   effective precautions to minimize the risk of touch contamination, the most common reason for

   contamination.

            59.     Subsequent testing for potency, stability, and sterility for these vials would be

   needed to ensure that the drug has not yet become too degraded or contaminated to reliably cause

   death.

        60.         Upon information and belief, the bulk active pharmaceutical ingredient (API)

used to make these products was obtained by the State of Texas in November of 2014. The State of

Texas then reportedly transferred small quantities of the ingredient to an anonymous pharmacy or

pharmacies for compounding into an injectable solution. See Chris McDaniel, Inmates Said The

Drug Burned As They Died. This Is How Texas Gets Its Execution Drugs., Buzzfeed News,




                                                     11
   1784034.02-NYCSR03A                                                         MSW - Draft August 15, 2019 - 9:20 PM
November 28, 2018, https://www.buzzfeednews.com/article/chrismcdaniel/inmates-said-the-drug-

burned-as-they-died-this-is-how-texas (last visited Aug 16, 2019).

           61.           The origin of the API used to prepare the vials intended for Mr. Swearingen’s

   execution is not clear. If the vials were prepared using the same batch of API obtained by the

   State of Texas in 2014 and used in previous executions, this API would be at least five years old,

   far surpassing the appropriate age for ingredients used in standard clinical practice. Appropriate

   clinical practice dictates that active pharmaceutical ingredient itself is tested before

   compounding takes place.

           62.        The State of Texas has not provided any information to indicate that the

   anonymous compounding pharmacy or pharmacies have tested this API to determine whether it

   is still potent.

           63.        According to Dr. Almgren, there is a high risk that the ingredients may no longer

   be potent given the significant time that has passed. Almgren Decl. ¶ 43.

           64.        Without further testing, there is a substantial risk that the vials intended for Mr.

   Swearingen’s execution are of insufficient potency and stability to cause death.

           65.        Poor pharmacy practices and a lack of transparency create the substantial risk that

   the drugs that the State of Texas intends to use in Mr. Swearingen’s execution are not of the

   appropriate potency to cause death.

           66.        The substantial risk that Defendants’ compounded pentobarbital will fail to cause

   Mr. Swearingen’s death as required by Texas law can only be ameliorated by testing the

   individual vials intended in Mr. Swearingen’s execution for stability, sterility, and contaminants

   will determine whether the drugs have the appropriate potency to cause death .

           E.         PAST VIOLATIONS OF A KNOWN COMPOUNDING PHARMACY FOR
                      PENTOBARITROL


                                                        12
   1784034.02-NYCSR03A                                                           MSW - Draft August 15, 2019 - 9:20 PM
        67.       Compounded pentobarbital prepared for the State of Texas is made by one or

more anonymous compounding pharmacies.

        68.       Upon information and belief, the State of Texas uses the Houston-based

pharmacy, Greenpark Compounding Pharmacy ("Greenpark") to prepare the lethal injection

drugs for use in its executions.

        69.       Greenpark has been cited for multiple safety violations and has a notable record

of infractions.

        70.       In November 2016, Greenpark's license was put on probation after the Texas State

Board of Pharmacy found that it had forced quality control documents and had compounded the

wrong drug for three different children, which resulted in once child having to go to the

emergency room after experiencing adverse effects.

        71.       In 2017, Food and Drug Administration ("FDA") cited Greenpark for several

potential sterility violations.

        72.       As of November 2018, Greenpark had received 48 violations in the past eight

years, including keeping out-of-date drugs in stock, using improper procedures to prepare IV

solutions, and inadequate cleaning of hands and gloves.

        F.        RECENT EXECUTIONS USING INFERIOR COMPOUNDED
                  PENTOBARBITAL SHOW SIGNS OF FAILURE


        73.       Several recent executions performed by the Defendants using their compounded

pentobarbital showed signs that these drugs are beginning to fail.

        74.       On January 30, 2018, prisoner William Rayford was executed by the State of

Texas. During Mr. Rayford’s execution, after pentobarbital had been administered, he attempted

to sit up, lifted his head, jerked his head back multiple times, grimaced, and shook.


                                                  13
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
        75.      On January 18, 2018, Texas executed Anthony Shore. At the end of Mr. Shore’s

final statement, he began to tremble, appeared agitated, and said “I can feel that it does burn.

Burning!”

        76.      On February 1, 2018, the State of Texas executed John David Battaglia using

pentobarbital. It took 22 minutes from the time of administering the drug until the time of death

and before then, Mr. Battaglia gasped twice and exclaimed "Oh, I feel it."

        77.      On May 16, 2018, the State of Texas executed Juan Castillo using pentobarbital.

It took 23 minutes between drug administration and the time of death and in between, Mr.

Castillo exclaimed "[EXPLETIVE] does burn."

        78.      On June 27, 2018, the State of Texas executed Danny Bible using pentobarbital.

After the pentobarbital was administered, Mr. Bible cried out "burning" and "it hurts".

        79.      On July 17, 2018, the State of Texas executed Christopher Young using

pentobarbital. It took 25 minutes from the time of administering the drug until the time of death,

and Mr. Young cried out twice using an obscenity to say he could taste the drug and that it was

burning. He also said something unintelligible before he stopped moving.

        80.      On September 26, 2018, the State of Texas executed Troy Clark using

pentobarbital. It took 21 minutes from the time of administering the drug until the time of death,

and Mr. Clark stated that the drug "burned going in" and that "I feel it". He also grunted and

gasped before he stopped moving.

        81.      According to the information supplied by Defendants, the pentobarbital

administered to each of Mssr. Rayford, Shore and Battaglia had been assigned a “Beyond Use

Date’(BUD) well beyond anything that was considered acceptable by the relevant scientific

treatises or by experts in the field.



                                                 14
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
        82.      Specifically, like the pentobarbital which is intended to be used on Mr.

Swearingen, the compounded pentobarbital administered in these prior executions were beyond

their use dates, and therefore unstable and at risk of sub-potency, a lack of integrity, and

contamination.



        83.      Because the State of Texas intends to use the same compounded drug

administered to Mr. Rayford, Mr. Shore, and Mr. Battaglia to carry out Mr. Swearingen's

execution, Mr. Swearingen is compelled to file this action to protect his constitutional rights.

        84.      Evidence of compounding pharmacy mistakes and infractions, as well as past

evidence that untested, compounded pentobarbital did not work as intended—such as causing a

burning sensation and taking longer than anticipated—further suggests that the drugs intended

for use in Mr. Swearingen’s execution were either incorrectly made or are beginning to fail.

There is a substantial risk that the Defendants’ compounded pentobarbital will fail to cause Mr.

Swearingen’s death as required by Texas law.


VI.     PROCEDURAL BACKGROUND

        85.      In 2000, Mr. Swearingen was convicted and sentenced to death by a jury in the

9th District Court for the rape and murder of Melissa Trotter. Since his conviction, Mr.

Swearingen has maintained his innocence and has sought relief from the courts.

        86.      Mr. Swearingen's conviction was affirmed on appeal, Swearingen v. State, 101

S.W.3d 89 (Tex. Crim. App. 2003), and the following habeas petitions have been denied or

dismissed. Ex parte Swearingen, No. WR-53,613-01 (Tex. Crim. App. May 21, 2003); Ex parte

Swearingen, No. WR-53613-04, 2008 WL 152720 (Tex. Crim. App. Jan. 16, 2008); Ex parte

Swearingen, No. WR-53613-05, 2008 WL 650306 (Tex. Crim. App. Mar. 5, 2008); Ex parte


                                                  15
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
Swearingen, No. WR-53613-05 (Tex. Crim. App. Dec. 17, 2008) (not designated for

publication); Ex parte Swearingen, No. WR-53613-08 (Tex. Crim. App. Jan. 27, 2009) (not

designated for publication); Ex parte Swearingen, No. WR-53613-09 (Tex. Crim. App. Jan. 27,

2009) (not designated for publication); Ex parte Swearingen, Nos. WR-513613-10, WR-53613-

11, 2011 WL 3273901 (Tex. Crim. App. July 28, 2011); Swearingen v. Thaler, No. H-09-300,

2009 WL 4433221 (S.D. Tex. Nov. 18, 2009); Swearingen v. Thaler, 421 Fed. App'x 413 (5th

Cir. 2011); Ex parte Swearingen, Nos. WR-53613-10, WR-53613-11, 2012 WL 6200431 (Tex.

Crim. App. Dec. 12, 2012); State v. Swearingen, 478 S.W.3d 716 (Tex. Crim. App. 2015). On

August 8,


VII.    LEGAL CLAIMS

        87.      Mr. Swearingen re-alleges and incorporates herein by reference the allegations

contained in all the preceding paragraphs of this Complaint.

        88.      42 U.S.C. §1983 provides a federal cause of action for “the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws” by a “person” acting

“under color” of state law.


                                            COUNT 1
   There is a Substantial Risk that Defendants’ Compounded Pentobarbital Will Fail to
 Cause Death, Thus Resulting in Torture, Ill Treatment, or Unnecessary Pain In Violation
         of Mr. Swearingen’s Right to be Free From Cruel and Unusual Punishment


        89.      The Eighth Amendment guarantees every person the right to be free from cruel

and unusual punishment. Cruel and unusual punishment is inflicted where a method of execution

creates a “substantial risk of serious harm.” Baze v. Rees, 553 U.S. 36, 55 (2008). Upon




                                                 16
1784034.02-NYCSR03A                                                      MSW - Draft August 15, 2019 - 9:20 PM
   information and belief, although it is possible to conduct executions in a constitutionally

   compliant manner, Defendants have deliberately chosen not to do so.

          90.          The intended method of execution presents a substantial risk that the vials

intended for Mr. Swearingen’s execution are of insufficient potency and stability to cause death.

That risk is “‘substantial when compared to the known and available alternatives.’” Glossip v.

Gross, 135 S.Ct. 2726, 2737 (2015) (citing Baze, 553 U.S. at 61); see also Louisiana ex. rel.

Francis v. Resweber, 329 U.S. 459 (1984); Gregg v. Georgia, 428 U.S. 153 (1976); LaChance v.

Erickson, 522 U.S. 262 (1998); Mullane v. Central Hanover Bank, 339 U.S. 306 (1950). Hamdi v.

Rumsfeld, 542 U.S. 507 (2004); see also Bucklew v. Precythe, 139 S. Ct. 1112, 203 L. Ed. 2d 521

(2019)3

              Administering drugs intended to cause an execution and yet failing to actually execute

   that individual would result in a mock execution, a recognized form of torture. Kilburn v.

   Islamic Republic of Iran, 699 F. Supp. 2d 136, 152 (D.D.C. 2010) (mock executions included as

   evidence of torture); Stansell v. Republic of Cuba, 217 F. Supp. 3d 320, 339 (D.D.C. 2016)

   (same).



              91.      Carrying out Mr. Swearingen’s execution with the current drug supply, without

   proper testing, presents an “‘objectively intolerable risk of harm’ that prevents prison officials from

   pleading that they were ‘subjectively blameless for purposes of the Eighth Amendment.’” Glossip,

   135 S.Ct at 2737 (citing Baze, 553 U.S. at 50). “[S]ubjecting individuals to a risk of future harm—




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       The relief requested in this lawsuit is simply to conduct a proper test of the drugs used to execute Mr. Swearingen.
         If the law allows naming an alternative to using the Defendants’ stale vials of compounded pentobarbital
         without proper testing, Mr. Swearingen suggests that Texas use a firing squad as a constitutional alternative.
         Firearms are intended to be used, and are proven to be effective, in causing death.


                                                               17
   1784034.02-NYCSR03A                                                                      MSW - Draft August 15, 2019 - 9:20 PM
not simply actually inflicting pain—can qualify as cruel and unusual punishment.” Baze, 553 U.S.

at 49.

         92.     Dr. Almgren avers that compounded drugs that are consumed beyond the use by

date set out by USP <797> raise a substantial risk that there will be problems with sterility and

potency that could cause the drug not to work for purposes of execution. Almgren Decl. ¶ 41.

         93.     The drugs Defendants have stated will be used to carry out the scheduled

execution of Mr. Swearingen are well beyond any scientifically acceptable BUD. See ¶ 53, supra.

         94.     There is a substantial risk that injection of drugs that are impotent, contaminated,

or impure will not work as intended and will fail to cause death as required under Texas law. The

relief requested in this lawsuit is simply to conduct a proper test of the drugs used to execute Mr.

Swearingen. If the law allows naming an alternative to using the Defendants’ stale vials of

compounded pentobarbital without proper testing that is not provided for under Texas law, Mr.

Swearingen suggests that Texas use a firing squad. Firearms when operated by trained

individuals are intended to be used, and are proven to be effective, in causing death.

         95.     The firing squad has been a recognized form of punishment in the United States

since before the Founding. See Deborah W. Denno, The Firing Squad as a “Known and

Available Method of Execution” Post-Glossip, 49 U. Mich. J. L. Reform 749, 778 (2016).

Oklahoma and Utah currently allow for the firing squad as a method of execution. Okla. Stat. tit.

22 § 1014 (2015); Utah Code Ann. § 77-18-5.5(1)–(4). The firing squad is also known around

the world – it is the second most common method of execution internationally, and provided for

in law by 53,76% of countries whose laws provide for capital punishment. See Amicus of

Scholars and Academics of Constitutional Law, Bucklew, 139 S. Ct. Furthermore, the firing

squad is feasible and readily implemented in the State of Texas. The State’s law-enforcement



                                                  18
1784034.02-NYCSR03A                                                        MSW - Draft August 15, 2019 - 9:20 PM
population have firearms at their disposal, and the types of firearms needed are neither hard to

find nor difficult to use. Utah firing squads, for example, rely on .30 caliber Winchester rifles.

(Brady McCombs, Firing Squad Gets Final OK. So How Does It Work?, The Associated Press,

Mar. 24, 2015, available at goo.gl/fKE5wx). This alternative is “feasible, readily implemented,

and in fact significantly reduce[s] a substantial risk of severe pain.” Glossip, 135 S. Ct. at 2737,

see also Bucklew, 139 S. Ct., Kavanaugh J., concurring opinion (“[A]n inmate who contends that

a particular method of execution is very likely to cause him severe pain should ordinarily be able

to plead some alternative method of execution that would significantly reduce the risk of severe

pain. At oral argument in this Court, the State suggested that the firing squad would be such an

available alternative, if adequately pleaded. Tr. of Oral Arg. 63–64 (“He can plead firing

squad.... Of course, if he had ... pleaded firing squad, it's possible that Missouri could have

executed him by firing squad”).”) Defendants are acting under color of Texas law in undertaking

to execute Mr. Swearingen with drugs that (i) were either incorrectly made, (ii) fail to contain

the appropriate amount of active ingredient, or (iii) will be insufficient to cause death., such that

there is a substantial risk that Mr. Swearingen will suffer serious harm in violation of his right to

be free from cruel and unusual punishment under the Eighth Amendment to the United States

Constitution.

        96.      Accordingly, Mr. Swearingen is entitled to declaratory and injunctive relief as set

forth below.




                                                  19
1784034.02-NYCSR03A                                                        MSW - Draft August 15, 2019 - 9:20 PM
                                             COUNT 2
 Denying Mr. Swearingen Access to Information About The Vial of Drug Intended To be
  Used for His Execution Violates His Right to Due Process, Notice, an Opportunity to be
                 Heard, and Access to Courts Under the Fourteenth Amendment


        97.      Under the Due Process Clause of the Fourteenth Amendment, governmental

decisions that deprive individuals of “liberty” or “property” interests are constrained by and must

adhere to procedural due process. Due process requires the opportunity to receive notice of how

one's rights will be affected and the opportunity to respond and be heard. See Mathews v.

Eldridge, 424 U.S. 319, 334-35 (1976).

        98.      Defendants are acting under color of Texas law in denying Mr. Swearingen access

to information about the vial of drug intended to be used for his execution, including information

about the potency, sterility, and efficacy of the pentobarbital to be used. This deprives Mr.

Swearingen of his ability to protect his right to not be subject to cruel and unusual punishment

under the Eighth Amendment.

        99.      Impeding Mr. Swearingen’s ability to litigate whether this execution will fail to

comport with constitutional requirements violates his right to due process, notice, an opportunity

to be heard, and access to courts in violation of Fourteenth Amendment to the United States

Constitution.

        100.     In Bounds v. Smith, the United States Supreme Court recognized that the right to

access the courts, rooted in the Fourteenth Amendment, requires that the states make available




                                                  20
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
the tools necessary for prisoners to obtain meaningful access to available judicial remedies. 430

U.S. 817, 828 (1977); Lewis v. Casey, 518 U.S. 343, 346 (1996).

        101.     The Fifth Circuit has recognized that prisoners have a right to access the courts

under the Fourteenth Amendment. In Toppins, the Fifth Circuit found that in order for a prisoner

to prevail on a denial of access to courts claim, he must show that he incurred an actual injury.

See id. at *4 (citing Lewis, 518 U.S. at 350–52).


                                             COUNT 3

There is a Substantial Risk that Defendants’ Compounded Pentobarbital Will Fail to

Cause Death, Thus Resulting in Torture, Ill treatment, or Unnecessary Pain In Violation of

Mr. Swearingen’s Right to Due Process of Law


        102.     Texas law requires that Defendants to conduct Mr. Swearingen’s execution by

“ intravenous injection of a substance or substances in a lethal quantity sufficient to cause

death and until such convict is dead. . .” Tex. Code Crim. Proc. art. 43.14 (Vernon Supp. 2004–

2005). Texas law also prohibits the infliction of “torture, or ill treatment, or unnecessary pain”

upon a prisoner to be executed under the sentence of the law. Id. art. 43.24.

        103.     Because there is a substantial risk that Defendants’ compounded pentobarbital

will fail to cause Mr. Swearingen’s death, and in so failing inflict torture and unnecessary ill

treatment and pain, Defendants have created a substantial risk of arbitrarily depriving Mr.

Swearingen of the benefit of Texas law in violation of his right to due process.

        104.     Accordingly, Mr. Swearingen is entitled to declaratory and injunctive relief as set

forth below.




                                                  21
1784034.02-NYCSR03A                                                        MSW - Draft August 15, 2019 - 9:20 PM
Request for Injunctive Relief Releasing Vial of Pentobarbital to Be Used For Execution for
                                Testing Prior to Execution

        105.     For the reasons stated above, the United States Constitution prohibits Defendants

from proceeding with an execution that is likely to result in a mock execution and requires that

Mr. Swearingen be afforded due process and access to the court to prevent the same. To

effectuate this right, injunctive relief must be ordered compelling those Defendants who are

custodians of pentobarbital identified in this Complaint as intended to be used for Mr.

Swearingen's execution to be released to a third party pharmaceutical testing facility to ascertain

the drug's potency and sterility and to assess the likelihood that the drug will or will not work to

execute a person receiving the intended dosage. Accordingly, Mr. Swearingen asks this Court to

grant prospective injunctive relief compelling the Defendants to release this vial of pentobarbital

so that the requested testing can be accomplished.



        Request for Injunctive Relief Enjoining Execution Until Testing Has Occurred

For the reasons stated above, the United States Constitution prohibits Defendants from

proceeding with an execution that is likely to result in a mock execution and requires that Mr.

Swearingen be afforded due process and access to the court to prevent the same. To effectuate

this right, injunctive relief must be ordered enjoining those Defendants who are custodians of

pentobarbital identified in this Complaint as intended to be used for Mr. Swearingen's execution

from proceeding with the execution of Mr. Swearingen as currently intended and scheduled for

August 21, 2019 unless and until an appropriate pharmaceutical testing facility has assessed the

potency and sterility of the vial of pentobarbital to be used on Mr. Swearingen and has obtained

results that the vial of drug will, in fact, work to execute Mr. Swearingen.


                                                 22
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
VIII. PRAYER FOR RELIEF

        WHEREFORE, Mr. Swearingen prays that the Court provide relief as follows:

1.      A declaratory judgment that Defendants' actions violate Mr. Swearingen's First, Eighth

        and Fourteenth Amendment rights;

2.      Injunctive relief requiring Defendants to release the vial of pentobarbital intended to be

        used in Mr. Swearingen's scheduled execution for testing by an appropriate

        pharmaceutical testing facility to ascertain the drug's potency and sterility and to assess

        the likelihood that the drug will or will not work to execute a person receiving the

        intended dosage;

3.      Injunctive relief enjoining Defendants from executing Mr. Swearingen with the execution

        drugs currently in their possession. as currently intended and scheduled for August 21,

        2019, unless and until an appropriate pharmaceutical testing facility has assessed the

        potency and sterility of the vial of pentobarbital to be used and has obtained results that

        the vial of drug will, in fact, work to execute Mr. Swearingen; and

4.      Reasonable attorneys' fees, costs of suit and such other and further relief as this Court

        deems just and proper.




                                                 23
1784034.02-NYCSR03A                                                       MSW - Draft August 15, 2019 - 9:20 PM
 Dated: August 16, 2019        Respectfully submitted,


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                          24
1784034.02-NYCSR03A                                 MSW - Draft August 15, 2019 - 9:20 PM
                                 CERTIFICATE OF SERVICE


        I hereby certify that on this 16 day of August 2019, counsel of record for Defendants,

listed below, who have consented to accept this Notice as service by electronic means, were

served via the electronic filing system.


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                                                     /s/ James G. Rytting____________




                                                25
1784034.02-NYCSR03A                                                     MSW - Draft August 15, 2019 - 9:20 PM
